     Case 2:18-cv-00103-SMJ        ECF No. 29   filed 11/29/18   PageID.281 Page 1 of 3




 1                                                         Hon. Salvador Mendoza, Jr.
 2 Marc Rosenberg
   LEE SMART, P.S., INC.
 3 1800 One Convention Place
   701 Pike Street
 4 Seattle, WA 98101-3929
   (206) 624-7990
 5 Attorneys for Defendants

 6
                          UNITED STATES DISTRICT COURT
 7                  EASTERN DISTRICT OF WASHINGTON AT SPOKANE
 8 ALEX MCVICKER and MARK
   MOSS, individually and on behalf of               No. 2:18-cv-00103-SMJ
 9 all others similarly situated,
                                                     (Consolidated with
10                   Plaintiffs,                     No. 2:18-cv-00100)
11             v.                                    NOTICE OF ERRATA
12 GIGA WATT, INC.; GIGAGWATT
   PTE LTD.; CRYPTONOMOS PTE.
13 LTD.; DAVE CARLSON; LEONID
   MARKIN; and EDWARD
14 KHAPTAKHAEV, a foreign
   corporation,
15
                     Defendants.
16

17 RAYMOND BALESTRA,
   individually and on behalf of all others
18 similarly situated,

19                   Plaintiffs,
20             v.
21   GIGA WATT, INC., ET AL.,
22                   Defendants.
23

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     NOTICE OF ERRATA - 1
     6452948.doc
     Case 2:18-cv-00103-SMJ         ECF No. 29    filed 11/29/18   PageID.282 Page 2 of 3




 1
              Defendants Giga Watt, Inc., Dave Carlson, Leonid Markin, and Edward
 2
     Khaptakhaev hereby note the following errata in regard to their Rule 12(b)(6)
 3
     Motion to Dismiss, filed on November 21, 2018. (ECF No. 27).
 4
              Based on the allegations in the Complaint, the motion provides the
 5
     following “facts” accepted as true solely for the motion to dismiss:
 6
              �     “Mr. Markin has an ownership interest in Giga Watt, and is its
 7
     financial manager.” (ECF No. 27 at 5), citing (ECF No. 22 at ¶ 43).
 8
              �     “Mr. Khaptakhaev has an ownership interest in Giga Watt, and is
 9
     identified as VP of Sales for Giga Watt.” (Id.), citing (ECF No. 22 at ¶ 43).
10
              These Defendants wish to make clear that these “facts” were only assumed
11
     for purpose of a Rule 12(b)(6) Motion to Dismiss, and that it is errata that a
12
     footnote was not provided indicating their position that: (a) Leonid Markin did
13
     not hold the position of financial manager at Giga Watt, and (b) Eduard
14
     Khaptakhaev did not hold any positions at Giga Watt Inc.
15
              This errata is hereby corrected by the filing of this notice.
16
              Respectfully submitted this 29th day of November, 2018.
17

18                                              By:s/ Marc Rosenberg              _____
                                                   Marc Rosenberg, WSBA No. 31034
19                                                 Of Attorneys for Defendants
                                                   Giga Watt, Inc., Dave Carlson, Leonid
20                                                 Markin and Edwrd Khaptakhaev
21                                                 Lee Smart, P.S., Inc.
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22                                                 Seattle, WA 98101-3929
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     NOTICE OF ERRATA - 2
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     Case 2:18-cv-00103-SMJ       ECF No. 29    filed 11/29/18   PageID.283 Page 3 of 3




 1
                                   DECLARATION OF SERVICE
 2
              I hereby certify that on this date I filed the foregoing document with the
 3
     Clerk of the Court using the court’s ECF filing system, which will automatically
 4
     serve the filing on registered users.
 5

 6            Roger M. Townsend        rtownsend@bjtlegal.com
 7
              Dated this 29th day of November, 2018 at Seattle, Washington.
 8

 9
                                             LEE SMART, P.S., INC.
10
                                             By: s/ Marc Rosenberg             _____
11                                              Marc Rosenberg, WSBA No. 31034
                                                Of Attorneys for Defendants
12                                              Giga Watt, Inc., Dave Carlson, Leonid
                                                Markin and Edwrd Khaptakhaev
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